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            In the United States Court of Federal Claims
                                           No. 17-889C
                                     (Filed: October 18, 2018)

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                                             *
IDEAL INNOVATIONS, INC.,                     *
THE RIGHT PROBLEM, LLC, and,                 *
ROBERT KOCHER                                *
                                             *
                                             *
                       Plaintiffs,           *
                                             *
             v.                              *
                                             *
THE UNITED STATES,                           *
                                             *
                      Defendant,             *
                                             *
                             and,            *
                                             *
OSHKOSH CORPORATION;                         *
GENERAL DYNAMICS LAND                        *
SYSTEMS, INC.; FORCE                         *
PROTECTION, INC.; GENERAL                    *
DYNAMICS LAND SYSTEMS -                      *
FORCE PROTECTION, INC.                       *
                                             *
        Third-Party Defendants.              *
                                             *
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                                             ORDER

        On October 17, 2018, the parties filed a Joint Motion To Enlarge Time regarding: (1)
Defendant’s Answer to the remaining Counts in Plaintiffs’ Complaint; (2) Plaintiffs’ response to
Defendant’s Motion to Dismiss; and (3) Defendant’s reply to Plaintiff’s response, if any, to
Defendant’s Motion to Dismiss. For good cause shown the Court GRANTS the motion.
Plaintiffs’ shall file their response to the Defendant’s pending Motion to Dismiss on or before
December 7, 2018. Defendants shall file their reply to Plaintiff’s response on or before
January 9, 2019. Defendants shall file an Answer to the remaining Counts in Plaintiffs’
Complaint, if necessary, within 30 days after the Court’s resolution of the pending motion to
dismiss.

       IT IS SO ORDERED.
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                                 s/ Edward J. Damich
                                 EDWARD J. DAMICH
                                 Senior Judge
